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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GERALD BOWES, Individually and on Behalf              Case No: 1:25-cv-01364
 of All Others Similarly Situated,
                                                       COMPLAINT FOR VIOLATIONS
                                Plaintiff,             OF THE FEDERAL SECURITIES
                                                       LAWS
         v.

 VENTURE GLOBAL, INC., MICHAEL        JURY TRIAL DEMANDED
 SABEL, JONATHAN THAYER, ROBERT
 PENDER, SARAH BLAKE, SARI GRANAT,
 ANDREW OREKAR, THOMAS J. REID,
 JIMMY STATON, and RODERICK CHRISTIE,

                                Defendants.


       Plaintiff Gerald Bowes alleges the following upon information and belief, except as to

those allegations concerning themselves, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based on the investigation of their undersigned counsel, which included,

among other things, review and analysis of: (a) public statements made by or on behalf of Venture

Global, Inc. (“Venture” or the “Company”), including public filings with the U.S. Securities and

Exchange Commission (“SEC”); (b) press releases; and (c) information readily available on the

internet, including news articles. Plaintiff believes that substantial additional evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this action pursuant to Sections 11 and 15 of the Securities Act of

1933 (the “Securities Act”), 15 U.S.C. §§ 77k and 77o, on behalf of himself and all other

shareholders that purchased stock pursuant and/or traceable to Venture’s registration statement for

the initial public offering held on or about January 24, 2025.




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       2.      Venture introduced itself to investors during its initial public offering as having

“reshaped the development and construction of liquefied natural gas production,” establishing

itself as “a rapidly growing company delivering critical LNG to the world.” Venture describes its

approach as “innovative and disruptive,” which is “both scalable and repeatable,” allowing

Venture to bring LNG to the global market years faster and at a lower cost.

       3.      In their initial public offering documents, Defendants discussed the commissioning,

constructing, and developing of five natural gas liquefaction and export projects near the Gulf of

Mexico in Louisiana, utilizing the Company’s unique “design one, build many” approach. Venture

further described each project as designed or being developed to include an LNG facility and

associated pipeline systems that interconnect with several interstate and intrastate pipelines to

enable the delivery of natural gas into the LNG facility. The Company shared the following table

with major projects and their stages of development:




       4.      Venture completed its initial public offering on January 27, 2025, selling 70 million

shares at $24.00 per share. On February 5, 2025, TotalEnergies, an energy company that was a

target customer of Venture, rejected opportunities to become a long-term customer of Venture,

citing lack of trust. In particular, TotalEnergies CEO, Patrick Pouyanne, stated that he was

approached by Venture to see if the company would be interested in a long-term supply contract

for liquefied natural gas from the Calcasieu Pass terminal in Louisiana, but he rejected the offer




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“because of what they are doing.” In response to the news, Venture’s stock price declined from

$19.68 per share on February 5, 2025 to $17.48 per share on February 6, 2025.

       5.      Plaintiff and other similarly situated investors bought Venture stock in the initial

public offering based on false and/or materially misleading information concerning its repeated

confidence in the Company’s ability to utilize its approach to deliver LNG to the world. These

investors sustained damages as a result thereof. This action seeks to compensate those investors

and recover the damages they sustained because of Defendants’ actions and statements.

                                 JURISDICTION AND VENUE

       6.      The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

Securities Act, 15 U.S.C. §§ 77k and 77o, respectively.

       7.      This Court has subject matter jurisdiction over this action under Section 22 of the

Securities Act (15 U.S.C. § 77v) and 28 U.S.C. § 1331.

       8.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly and/or indirectly, used the means and instrumentalities of interstate

commerce, including but not limited to, the United States mail, interstate telephone

communications, and the facilities of the national securities exchange.

       9.      Venue is proper in this District pursuant to Section 22 of the Securities Act and

28 U.S.C. § 1391(b) because certain of the acts alleged herein, including the commencement and

execution of Venture’s initial public offering, occurred in this District.

                                          THE PARTIES

       10.     Plaintiff purchased Venture stock pursuant and/or traceable to Venture’s

registration statement for the initial public offering and was damaged as a result thereof. Plaintiff’s

certification evidencing his transaction(s) in Venture is incorporated herein by reference.



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       11.     Defendant Venture is incorporated in the State of Delaware. Its principal executive

offices are located at 1001 19th Street North, Suite 1500, Arlington, VA 22209. Venture conducted

its initial public offering vis-à-vis numerous investment banks located in this District. Following

its initial public offering, Venture’s stock traded on the New York Stock Exchange (NYSE) under

the symbol “VG.”

       12.     Defendant Michael Sabel (“Sabel”) was, at all relevant times, Venture’s Chief

Executive Officer, Director, Executive Co-Chairman of the Board, and Founder. Sabel signed

Venture’s registration statement for the initial public offering.

       13.     Defendant Jonathan Thayer (“Thayer”) was, at all relevant times, Venture’s

Principal Financial Officer. Thayer signed Venture’s registration statement for the initial public

offering.

       14.     Defendant Robert Pender (“Pender”) was, at all relevant times, Venture’s Executive

Co-Chairman, Director, and Founder. Pender signed Venture’s registration statement for the initial

public offering.

       15.     Defendant Sarah Blake (“Blake”) was, at all relevant times, Venture’s Principal

Accounting Officer. Blake signed Venture’s registration statement for the initial public offering.

       16.     Defendants Sari Granat, Andrew Orekar, Thomas J. Reid, Jimmy Staton, and

Roderick Christie were at all relevant times members of Venture’s Board of Directors.

Collectively, these defendants are referred to as the “Director Defendants.”

       17.     Sabel, Thayer, Pender, Blake, and the Director Defendants:

               a.      directly participated in the management of Venture;

               b.      were directly involved in the day-to-day operations of Venture at the highest

                       levels;




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                c.      were directly or indirectly involved in drafting, producing, reviewing,

                        and/or disseminating the false and misleading statements and information

                        alleged herein;

                d.      were directly or indirectly involved in the oversight or implementation of

                        Venture’s business and/or finances, medical, or scientific research;

                e.      and/or approved or ratified these statements in violation of the federal

                        securities laws.

        18.     As officers of a publicly-held company whose common stock was, and is, registered

with the SEC pursuant to the federal securities laws of the United States, Sabel, Thayer, Pender,

Blake and the Director Defendants each had a duty to disseminate prompt, accurate, and truthful

information with respect to the Company’s ability to maintain its status as a long-term, low-cost

provider of American-produced LNG and to correct any previously-issued statements that had

become materially misleading or untrue.

        19.     Sabel, Thayer, Pender, Blake, and the Director Defendants, because of their

positions with Venture, possessed the power and authority to control the contents of Venture’s

reports to the SEC, press releases, and presentations to securities analysts, money and portfolio

managers, and institutional investors, i.e., the market. Sabel, Thayer, Pender, Blake, and the

Director Defendants had the ability and opportunity to prevent their issuance or cause them to be

corrected.

                                 SUBSTANTIVE ALLEGATIONS

        20.     On January 23, 2025, Venture published a press release announcing pricing for its

initial public offering, stating, in pertinent part:




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       [Venture] announced today the pricing of its initial public offering of 70,000,000
       shares of its Class A common stock, par value $0.01 (“Class A common stock”) at
       a public offering price of $25.00 per share. In connection with the offering, Venture
       Global has granted the underwriters a 30-day option to purchase up to an additional
       10,500,000 shares of Class A common stock. The shares of Class A common stock
       are expected to begin trading on the New York Stock Exchange on January 24,
       2025 under the symbol “VG”.

       The closing of the offering is expected to occur on January 27, 2025, subject to the
       satisfaction of customary closing conditions.

       21.     On January 27, 2025, Venture published a Form 8-K announcing that its initial

public offering had closed. Defendant Thayer signed this statement, which also included a second

amended and restated certificate of incorporation, amended and restated by-laws, and amended

and restated shareholders’ agreement.

               FALSE AND MATERIALLY MISLEADING STATEMENTS

       22.     On December 20, 2024, Defendants filed a registration statement on Form S-1 with

the SEC in connection with the Company’s initial public offering. Venture amended the

registration statement on January 13, 2025 and January 22, 2025. On January 24, 2025, Venture

filed its final prospectus for the Company’s initial public offering, which was incorporated into

the registration statement, and listed for sale 70 million shares of Venture common stock at an

offering price of $25.00 per share.

       23.     Venture’s final prospectus for the initial public offering represented the

significance and benefits of Venture’s fundamental reshaping of the development and construction

of liquefied natural gas (LNG) production and the Company’s ability to deliver LNG to the world.

In pertinent part, the Company detailed its projects as follows:

       We are commissioning, constructing, and developing five natural gas liquefaction
       and export projects near the Gulf of Mexico in Louisiana, utilizing our unique
       “design one, build many” approach. Each project is designed or is being developed
       to include an LNG facility and associated pipeline systems that interconnect with


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         several interstate and intrastate pipelines to enable the delivery of natural gas into
         the LNG facility. As illustrated by the chart below, our five current projects are
         being designed to deliver a total expected peak production capacity of 143.8 mtpa,
         which consists of an aggregate of 104.4 mtpa expected nameplate capacity and an
         aggregate of 39.4 mtpa of expected excess capacity. These amounts do not account
         for any potential bolt-on expansion liquefaction capacity. The expected nameplate
         capacity of our facilities measures the minimum operating performance thresholds
         guaranteed by the equipment providers, and the expected excess capacity represents
         the additional LNG that we aim to produce above such guaranteed amounts.
         Although COD has not yet occurred under the post-COD SPAs for any of our
         projects, we have been generating proceeds from the sale of commissioning cargos
         at the Calcasieu Project since the first quarter of 2022, and expect to do so at each
         of our other projects during commissioning prior to achieving COD for the relevant
         project or phase of a project.




         24.    The statements identified above were false and/or materially misleading.

Defendants touted its innovative and disruptive approach, which they stated is both scalable and

repeatable, allowing the Company to bring LNG to the global market years faster and at a lower

cost. Defendants further discussed the development of Venture’s five natural gas liquefaction and

export projects near the Gulf of Mexico in Louisiana, utilizing their unique “design one, build

many” approach. Therefore, the initial public offering represented to the public that Venture had

the customer backing to implement its projects, allowing for the Company to deliver LNG to the

world.

         25.    Contrary to these representations, Venture’s business and prospects were called

into question when TotalEnergies CEO, Patrick Pouyanne, announced that he had been approached

by Venture see if the company would be interested in a long-term supply contract for liquefied

natural gas from the Calcasieu Pass terminal in Louisiana, but rejected the offer. According to new



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reports, Pouyanne stated in pertinent part that: “I don’t want to deal with these guys, because of

what they are doing. . . . I don’t want to be in the middle of a dispute with my friends, with Shell

and BP.” Pouyanne also cited a lack of trust with respect to Venture. According to Pouyanne, “The

price of the LNG was so low . . . I said to my colleague, ‘How is it possible to pay $1 less than

the rest of the market? What is the trick?’”

        26.     Venture is currently facing legal challenges from existing large clients, such as BP

and Shell, due to delays in supply contracts as Venture commissions its projects. Given the fact

that Defendants ability to deliver LNG to the world and to continue development of Venture’s five

natural gas liquefication and export projects depends on customer contracts, such as those

mentioned above, Defendants’ failure to account for and address these issues caused statements in

Venture’s registration statement to be false and/or materially misleading at the time of the initial

public offering.

        27.     In response to the news, Venture’s stock price declined from $19.68 per share on

February 5, 2025 to $17.48 per share on February 6, 2025.

        28.     Venture’s stock currently trades at or around $16.00 per share, which is well below

its $25.00 per-share initial public offering price.

                               CLASS ACTION ALLEGATIONS

        29.     Plaintiff bring this action on behalf of himself and all other shareholders that

purchased stock pursuant and/or traceable to Venture’s registration statement for the initial public

offering held between January 24 and 27, 2025 and were damaged thereby (the “Class”). Excluded

from the Class are Defendants, each of their immediate family members, legal representatives,

heirs, successors or assigns, and any entity in which any of the Defendants have or had a

controlling interest.




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        30.     The Class members are so numerous that joinder of all members is impracticable.

While the exact number of Class members is unknown at this time and can be ascertained only

through appropriate discovery, Plaintiff believes that there are hundreds or thousands of members

in the proposed Class. Record owners and other Class members may be identified from records

maintained by Venture or its transfer agent and may be notified of the pendency of this action by

mail, using the form of notice similar to that customarily used in securities class actions. In the

initial public offering itself, Venture sold 70 million shares. Upon information and belief, these

shares are held by hundreds or thousands of individuals located throughout the world. Joinder

would be highly impracticable.

        31.     Plaintiff’s claims are typical of the claims of the Class members as all Class

members are similarly affected by the Defendants’ respective wrongful conduct in violation of the

federal laws complained of herein.

        32.     Plaintiff has and will continue to fairly and adequately protect the interests of the

Class members and has retained counsel competent and experienced in class and securities

litigation. Plaintiffs has no interests antagonistic to or in conflict with those of the Class.

        33.     Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members. Among the questions of law and

fact common to the Class are:

                (a)     whether the federal securities laws were violated by the Defendants’

                        respective acts as alleged herein;

                (b)     whether the price of Venture’s securities during the initial public offering

                        was artificially inflated because of the Defendants’ conduct complained of

                        herein; and




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                (c)     whether the Class members have sustained damages and, if so, what is the

                        proper measure of damages.

        34.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action

                                              COUNT I

                Violation of Section 11 of the Securities Act against Defendants

        35.     Plaintiff specifically disclaims any allegations that are based on fraud, recklessness,

or intentional misconduct.

        36.     This count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. §77k,

on behalf of Plaintiff and other members of the Class against Defendants.

        37.     Venture’s registration statement and prospectus for the initial public offering were

inaccurate and misleading, contained untrue statements of material facts, omitted facts necessary

to make the statements made therein not misleading, and omitted to state material facts required

to be stated therein.

        38.     Venture is the issuer of the securities purchased by Plaintiff and other members of

the Class. As such, Venture is strictly liable for the materially untrue statements contained in the

registration statement and prospectus and their failure to be complete and accurate.

        39.     Sabel, Thayer, Pender, Blake, and the Director Defendants each signed the

registration statement filed by Venture for its initial public offering. As such, each is strictly liable

for the materially inaccurate statements contained therein and the failure of the registration



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statement and prospectus to be complete and accurate. Sabel, Thayer, Pender, Blake, and the

Director Defendants named herein were responsible for the contents and dissemination of the

registration statement and prospectus, which were inaccurate and misleading, contained untrue

statements of material facts, omitted facts necessary to make the statements made therein not

misleading, and omitted to state material facts required to be stated therein. Sabel, Thayer, Pender,

Blake, and the Director Defendants each had a duty to make a reasonable and diligent investigation

of the truthfulness and accuracy of the statements contained in the registration statement and

prospectus and ensure that they were true and accurate and not misleading. In the exercise of

reasonable care, Sabel, Thayer, Pender, Blake, and the Director Defendants should have known of

the material misstatements and omissions contained in the registration statement and prospectus.

Accordingly, Sabel, Thayer, Pender, Blake, and the Director Defendants are liable to Plaintiffs and

the other members of the Class.

       40.        By reason of the conduct alleged herein, Defendants violated Section 11 of the

Securities Act.

       41.        Plaintiff and the other members of the Class acquired Venture common stock

pursuant or traceable to the Company’s registration statement and prospectus filed in conjunction

with the initial public offering and without knowledge of the untruths and/or omissions alleged

herein. Plaintiff and the other members of the Class sustained damages, and the price of Venture’s

shares declined substantially due to material misstatements in the registration statement and

prospectus.

       42.        This claim was brought within one year after the discovery of the untrue statements

and omissions and within three years of the date of the initial public offering.




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       43.     By virtue of the foregoing, Plaintiff and the other members of the Class are entitled

to damages under Section 11, as measured by the provisions of Section 11(e), from the Defendants

and each of them, jointly and severally.

                                             COUNT II

                         Violation of Section 15 of the Securities Act
              against Sabel, Thayer, Pender, Blake, and the Director Defendants

       44.     Plaintiff repeats and realleges each and every allegation contained in Count I,

supra. Plaintiff specifically disclaims any allegations that are based on fraud, recklessness, or

intentional misconduct.

       45.     This Count is brought by Plaintiff against Sabel, Thayer, Pender, Blake, and the

Director Defendants pursuant to Section 15 of the Securities Act, 15 U.S.C. § 77o, on behalf of

the Class.

       46.     This Count is asserted against Sabel, Thayer, Pender, Blake, and the Director

Defendants, each of whom possessed the power to control, and did control, directly and/or

indirectly, the actions of Venture at all relevant times.

       47.     Sabel, Thayer, Pender, Blake, and the Director Defendants were each control

persons of Venture by virtue of their positions as directors, senior officers, and/or authorized

representatives of the Company. Sabel, Thayer, Pender, Blake, and the Director Defendants had

the power and authority to control the contents of Venture’s registration statement and prospectus

and had the ability and opportunity to prevent their issuance or cause them to be corrected.

       48.     As a direct and proximate result of said wrongful conduct, Plaintiff and the other

members of the Class suffered damages in connection with their purchase of Venture securities.

       49.     This claim is brought within the applicable statute of limitations.




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                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment as follows:

               (a)     Determining that this action is a proper class action, certifying Plaintiff as a

                       class representative under Federal Rule of Civil Procedure 23 and Plaintiff’s

                       counsel as class counsel;

               (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

                       members against all Defendants, jointly and severally, for all damages

                       sustained as a result of the Defendants’ wrongdoing, in an amount to be

                       proven at trial, including interest thereon;

               (c)     Awarding Plaintiff and the Class their reasonable costs and expenses

                       incurred in this action, including counsel fees and expert fees; and

               (d)     Such other and further relief as the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

       In accordance with Fed. R. Civ. P. 38(b), Plaintiff demands a jury trial of all issues

involved, now, or in the future, in this action.


Dated: February 17, 2025                       Respectfully Submitted,

                                               LEVI & KORSINSKY, LLP
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                                               /s/ Adam M. Apton             _
                                               Adam M. Apton
                                               33 Whitehall Street, 17th Floor
                                               New York, NY 10004
                                               Tel: (212) 363-7500
                                               Fax: (212) 363-7171
                                               Email: aapton@zlk.com


                                               Attorneys for Plaintiff




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